                                                                                                 DISTRICT OF OREGON
                                                                                                      FILED
                                                                                                     March 19, 2018
                                                                                              Clerk, U.S. Bankruptcy Court



            Below is an Order of the Court.




                                                                                  _____________________________
                                                                                         TRISH M. BROWN
                                                                                       U.S. Bankruptcy Judge




                                         UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF OREGON

In re                                                 )           13-35844-tmb13
                                                          Case No.________________
 David R. Dannemiller                                 )
                                                      )                          02/26/18
                                                          ORDER, DRAFTED ON:__________,
                                                      )   RE: RELIEF FROM (Check ALL that apply):
                                                      )      DEBTOR STAY       CODEBTOR STAY
                                                      )                Specialized Loan Servicing LLC as servicing*
                                                          CREDITOR:____________________________________________
Debtor(s)                                             )   CODEBTOR:___________________________________________

   The undersigned, _________________________________,
                                 Lisa McMahon-Myhran              whose address is ________________________________
                                                                                          901 Fifth Avenue, Suite 400
_____________________________________________,
Seattle, WA 98164                                           Email address is ____________________________________,
                                                                                      lmcmahon@robinsontait.com
                           206-654-5529
Phone No. is ______________________________,           and any OSB # is __________,
                                                                          000849     presents this Order based upon:
   The completed Stipulation of the parties located at the end of this document. *agent for The Bank of New York Mellon
                                                                                  FKA The Bank of New York, as Trustee for
   The oral stipulation of the parties at the hearing held on __________.         the certificateholders of the CWABS, Inc.
                                                                                  Asset-Backed Certificates, Series 2007-10
   The ruling of the court at the hearing held on __________.
   Creditor certifies any default notice required by pt. 5 of the Order re: Relief from Stay entered on __________ was served,
   and that debtor has failed to comply with the conditions of that order.
   Creditor certifies that no response was filed within the response period plus 3 days to the Motion for Relief from Stay that
   was filed on __________ and served on __________.
    IT IS ORDERED that, except as provided in pt. 4 below, the stay existing pursuant to 11 USC §362(a) shall remain in effect
as to the property described below (hereinafter "the property"):
   Personal property described as (e.g., 2001 Ford Taurus):




   Real property located at (i.e., street address):
1313 SE 150th Avenue
Portland, OR 97233

   [Optional UNLESS In Rem Relief Granted] Exhibit A attached hereto is the legal description of the property.

720.90 (12/1/10)       Page 1 of 3

                                Case 13-35844-tmb13             Doc 47     Filed 03/19/18
   IT IS FURTHER ORDERED that the stay is subject to the conditions marked below:
   1. Regular Payment Requirements.
      a. Debtor(s) shall deliver regular monthly payments in the amount of $____________
                                                                               1,524.60  commencing _________
                                                                                                     04/01/18 to
         Creditor at the following address:
   Specialized Loan Servicing LLC
   PO Box 636007 Littleton, CO 80163

      b. The Chapter 13 trustee shall immediately pay and disburse to Creditor the amount of $____________ per month
         from funds paid to the trustee by Debtor(s), and continue each month until the plan is confirmed, at which time the
         plan payment terms shall control. Payments made by the trustee under this order shall be deemed to be payments
         under the plan for purposes of the trustee's collection of percentage fees.
      c. Debtor(s) shall pay to the trustee any and all payments required to be paid under the terms of the Chapter 13 plan.
  2. Cure Payment Requirements. Debtor(s) shall cure the post-petition default of $____________
                                                                                          8,326.49    consisting of
  Payments for 10/01/2017 of $1,426.18; Payments from 11/01/2017 through 12/01/2017 of $1,437.85 each; Payments from
  01/01/2018 through 03/01/2018 of $1,524.60; Minus Suspense Balance: ($549.19)


      (e.g., $_____ in payments and $_____ in late charges for April - June, 2002), as follows:
      a. In equal monthly installments of $______________ each, commencing ___________ and continuing thereafter
         through and including __________.
      b. By paying the sum of $_____________ on or before __________, and the sum of $_____________ on or before
         __________.
      c. Other (describe):
  Debtor has applied for a loan modification to cure post-petition arrears. The Loan modification must be approved or
  denied within six (6) months of the entry of this order. If denied the Debtor must either cure the post-petition arrears within
  30 days of denial. If the Debtor fails to cure within 30 day of denail, then the automatic stay shall terminate with respect to
  the Property and Creditor may exercise any available remedies under state law.




   3. Insurance Requirement(s). Debtor shall maintain insurance on the property at all times as required by the security
      agreement, naming ___________________________________________________ as the loss payee.
      On or before __________ Debtor(s) shall provide counsel for Creditor with proof of insurance.
   4. Stay Relief and Codebtor Stay Relief without Cure Opportunity.
      a. Upon default in the conditions in pt(s). ______ Creditor may file and serve a certificate of non-compliance specifying
         the default, together with a proposed order terminating the stay to allow Creditor to foreclose on, and obtain
         possession of, the property to the extent permitted by applicable nonbankruptcy law, which the Court may grant
         without further notice or hearing.
      b. The stay is terminated to allow Creditor to foreclose on, and obtain possession of, the property to the extent permitted
         by applicable nonbankruptcy law, provided that a foreclosure sale shall not occur prior to __________.
      c. Creditor is granted relief from stay effective __________ to foreclose on, and obtain possession of, the property, to
         the extent permitted by applicable nonbankruptcy law.
      d. Creditor is granted relief from stay to foreclose on, and obtain possession of, the property, to the extent permitted
         by applicable nonbankruptcy law.
      e. If a Creditor with a senior lien on the property is granted relief from stay, Creditor may file and serve a certificate
         identifying the senior lien holder and a proposed order terminating the stay, which the Court may grant without further
         notice or hearing.
      f. Creditor is granted relief from stay to ____________________________________________________________
      ____________________________________________________________________________________________.
      g. Creditor is granted “in rem” relief from stay with respect to the real property described above and in Exhibit A. This
         order shall be binding in any other case filed under 11 USC purporting to affect such real property filed not later than
         two (2) years after the date of the entry of this order unless the bankruptcy court in the subsequent case grants relief
         from this order. Any governmental unit that accepts notices of interests or liens in real property shall accept a
         certified copy of this order for indexing and recording.
720.90 (12/1/10)      Page 2 of 3
                                Case 13-35844-tmb13             Doc 47      Filed 03/19/18
      h. Creditor is granted relief from the codebtor stay, as it applies to the codebtor(s) named in the caption above, to
         enforce the terms of the contract and collect the deficiency balance.
   5. Stay Relief with Cure Opportunity. Upon default in the checked condition(s) in pt(s). 1 - 3, Creditor shall serve written
      notice of default on Debtor(s) and Attorney for Debtor(s) that gives Debtor(s) ____    10 calendar days after the mailing
      of the notice to cure the default. If Debtor(s) fails to cure the default in accordance with this paragraph, then Creditor
      shall be entitled to submit a proposed order terminating the stay, which the Court may grant without further notice or
      hearing.
      a. The notice of default may require that Debtor(s) make any payment(s) that becomes due between the date the notice
         of default is mailed and before the cure deadline.
                                                                 50.00
      b. The notice of default may require Debtor(s) to pay $____________ for the fees and costs of sending the notice.
      c. Only ____
                2 notices of default and opportunity to cure are required per        year (calculated from date of entry of this
         order), during the remainder of this case, or (describe):



   6. Amended Proof of Claim. Creditor shall file an amended proof of claim to recover all accrued post-petition attorney
      fees and costs and (describe):




   7. Miscellaneous Provisions.
      a. If Creditor is granted relief from stay, the 14-day stay provided by Fed. Rule Bankr. Proc. 4001(a) shall be waived.
      b. Any notice that Creditor's counsel shall give to Debtor(s)/Codebtor, or attorney for Debtor(s)/Codebtor, pursuant to
         this order shall not be construed as a communication under the Fair Debt Collection Practices Act, 15 USC §1692.
   8. A final hearing on Creditor's motion for relief from stay shall be held on ___________ at ___________ in
   _______________________________________________________________________________________________.
   9. Other:
   In any order that creditor lodges in accordance with paragraph 5 above, creditor shall state the dates and amounts of
   missed payments and the date of creditor's notice of default required by that paragraph.




PRESENTED, AND CERTIFIED, BY:                                ###

/s/ Lisa McMahon-Myhran
___________________________________________

IT IS SO STIPULATED:
Creditor’s Attorney:                                                   Debtor(s)’s Attorney:

/s/ Lisa McMahon-Myhran
___________________________________________                            /s/ Troy G. Sexton
                                                                       ____________________________________________
         Lisa McMahon-Myhran
Name: ____________________________________                                      Troy G. Sexton
                                                                       Name: _____________________________________
         000849
OSB#: ____________________________________                                      115184
                                                                       OSB#: _____________________________________

NO OBJECTION TO ORDER BY CASE TRUSTEE:                                 Codebtor’s Attorney:

    /s/ Catherine Yarnes for Wayne Godare
By:________________________________________                            ___________________________________________
                                                                       Name: _____________________________________
                                                                       OSB#: _____________________________________

720.90 (12/1/10)       Page 3 of 3

                                Case 13-35844-tmb13             Doc 47      Filed 03/19/18
